Case 2:04-cr-20103-.]TF Document 271 Filed 08/24/05 Page 1 of 6 Page|D 311
UNlTED STATES D|STR|CT COURT

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MEMPHls nlvlsloN
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.v- 2:0401=120150-01 -D a%%§§§;@€m@lm
2:04cnzo103-o1-D \/ t ‘ " "‘ ""‘WPHlS
scoTT cRAwFonD

Tony Axaml Retalned
Defense Attorney

1280 Peachtree Street, #310
At|anta, GA 30309

 

JUDGMENT IN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1-15 of the indictment in 04-20150 and Counts 2-7
& 9 of the Indictment in 05-20103 on N|arch 14, 2005. Accordingly, the court has

adjudicated that the defendant is guilty of the following offenses:

Date Count
Tiue & section MMMQM Offense Numbers
Conc|uded
18 U.S.C. § 1956 (a)(1) Money Laundering Proceeds from 07/19/2002 1 - 6
and Specified Unlawfu| Activities, Aiding (04-20150)
18 U.S.C. § 2 and Abetting
18 U.S.C. § 1957 and Engaging in Money Transactions in 07/19/2002 7 - 12
18 U.S.C. § 2 Property Derived from Specified (04-20150)
Un|awfu| Activity, Aiding and Abetting
18 U.S.C. § 2113 (a) and Bank Larceny, Aiding and Abetting 09/25/2003 13 - 15
18 U.S.C. § 2 (04-20150)
18 U.S.C. § 371 Conspiracy to Obstruct a Crimina| 02/19/2004 2
investigation and Commit Bribery (04-20103)
Affecting Federa| Programs
18 U.S.C. § 1510 (a) and Obstruction of a Crimina| lnvestigation, 02/19/2004 3 & 5
Aiding and Abetting (04¢20103)
18 U.S.C. § 2
18 U.S.C. § 666 (a)(2) Bribery Affecting Programs Receiving 02/1 912004 4 & 6
and Federa| Funds, Aiding and Abetting (04-20103)
18 U.S.C. § 2
18 U.S.C. § 1512 (c)(2) Tampering With a Witness/|nformant, 02/1 912004 7 l
and Aiding and Abetting (04-20103)
18 U.S.C. § 2
e
on the docket ch w

two document entered

le 55 andlor 32[b) FRC\'P on

Case 2:04-cr-20103-.]TF Document 271 Filed 08/24/05 Page 2 of 6 Page|D 312
Case No: 2:04CF120150-D and 2:04CR20103-D Defendant Name: Scott CFlAWFORD Page 2 of 5

 

Date Count
Tit|e & section Nature of Offense Offense Numbers
Concluded
18 U.S.C. § 922(k) and Possession of a Firearm With an 02/21/2004 9
18 U.S.C. § 2 Ob|iterated Serial Number Affecting (04-20103)
Interstate Commerce, Aiding and
Abetting

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Fteform Act of 1984 and the Mandatory
Victims Ftestitution Act of 1996.

Counts 10, 11, 12 of 04-20103 are dismissed on the motion of the United States.

|T iS FURTHER OFIDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant's Date of Birth: 5/5/1970 August 22, 2005
Deft’s U.S. Marshal No.: 19514-076

Defendant’s |V|ailing Address:
655 Riverside Drive, #1408
Memphis, TN 38103

yale

BERNICE B. DONALD
UNlTED STATES D|STR|CT JUDGE

August 215 ,2005

     

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Case No: 2:04CR20150-D and 2:04CR20103-D Defendant Name: Scott CRAWFORD Page 3 015

lMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a total term of 71 Months. (71 months as to each of counts

1-15 in case number 04-20150 and 4,6 & 7 in case number 04-201 03; 60 months as to each
of counts 2, 3, 5 & 9 in case number 04-20103. Al| terms to be served concurrent|y).

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States IV|arshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UNtTED STATES MAFiSHAL
By:

 

Deputy U.S. Nlarshai

Case 2:04-cr-20103-.]TF Document 271 Filed 08/24/05 Page 4 of 6 PagelD 314

Case No: 2:04CF120150-D and 2:04CFi20103-D Defendant Narne: Scott CRAWFORD Page 4 015

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shali be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district withoutthe permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regulariy at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:04CFi20150-D and 2:04CF120103-D Defendant Name: Scott CRAWFORD Page 5 015

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADDIT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Participate in substance abuse testing and treatment programs as directed by the Probation
Officer.

2) Cooperate in the collection of DNA as directed by the probation Officer.

CR|M|NAL MONETAF|Y PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(1). Al| of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution
$2,100.00

The Speciai Assessment shall be due immediately.

FINE
No fine imposed

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 271 in
case 2:04-CR-20103 Was distributed by faX, mail, or direct printing on

August 31, 2005 to the parties listed.

 

Tony L. AXam

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Honcrable Bernice Dcnald
US DISTRICT COURT

